STATE OF MINNESOTA

COUNTY OF RAMSEY

Mother Doe 105 on behalf
of the minor Jane Doe 105,

Plaintiff,
VS.

Columbia Heights School District ISD #13,
St. Paul School District ISD #625,
Laidlaw Transit Services, Inc. a/k/a
Laidlaw Transit Management Company, Inc, and
Laidlaw Transit, Inc.
Defendants.

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DISTRICT COURT
FIRST JUDICIAL DISTRICT
Case Type: Personal Injury .

Case No.

SUMMONS

THE STATE OF MINNESOTA TO THE ABOVE-NAMED DEFENDANTS:

YOU ARE HEREBY SUMMONED and required to serve upon Plaintiffs’ attorneys an

Answer to the Complaint, which is herewith served upon you, within twenty (20) days after service

of this Summons upon you, exclusive of the day of service. If you fail to do so, judgment by default

will be taken against you for the relief demanded in the Complaint.

This case may be subject to Alternative Dispute Resolution (ADR) process under Rule 114

of the General Rules of Practice for the District Courts. The court adininistrator or your attorney can

provide you with information about ADR options and a list of peutrals available in your area. ADR

does not affect your obligation to respond to the Sammons and Complaint within twenty (20) days.

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Dated: (Of; 6 oO] JEFF ANDERSON & ASSOCIATES PA.

f By: Jeffrey R. Anderson, #2057
Patrick W. Noaker #27495]
Attorneys for Plaintiff
E-1000 First National Bank Building
332 Minnesota Street
St. Paul, MN 55161
(651) 227-9990

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STATE OF MINNESOTA DISTRICT COURT
COUNTY OF RAMSEY FIRST JUDICIAL DISTRICT

Case Type: Personal Injury

Mother Doe 105 on behalf Case No.
of the minor Jane Doe 105,
Plaintiff,
vs. COMPLAINT

Columbia Heights School District ISD #13,
St. Paul School District ISD #625,
Laidlaw Transit Services, Inc. a/k/a
Laidlaw Transit Management Company, Inc, and
Laidlaw Transit, Inc.
Defendants.

PlaintifG for her causes of action against Defendants, allege that:
PARTIES

1, Plaintiff Jane Doe 105 is a minor. Mother Doe 105 is Jane Doe 105's mother and
legal guardian. At all times material, Jane Doe 105 was a resident of the State of Minnesota.

2. At all times material, Defendant Columbia Heights School District, ISD #13,
Plaintiff's resident School District (hereinafter “Resident Schoo! District”) is a State of Minnesota
public school district, ‘that was and continues to be a non-profit governmental organization
authorized to conduct business and conducting business in the State of Minnesota at 800 49" Avenue
NE, Columbia Heights, MN 55421.

3. At all times material, Defendant St. Paul School District ISD #625, Plaintiff's
providing School District (hereinafter “Provider School District”) is a State of Minnesota public

school district, that was and continues to be a non-profit governmental organization authorized to
conduct business and conducting business in the State of Minnesota at 360 Colbome Street, St. Paul,
MN 55102.

4, At all times material, Laidlaw Transit Services, Inc. a/k/a Laidlaw Transit
Management Company, Inc, and Laidlaw Transit, Inc. were conducting business in the State of
Minnesota. All are incorporated in the State of Minnesota (hereinafter collectively known as “Bus

Company”). The Bus Company has its principal place of business at 100 §, 5" Street, Suite 1075,

Minneapolis, MN 55402.
FACTS
5. At ail times material, Plaintiff was a student within the Provider School District at

Humbolt Junior High School. Plaintiff suffers from certain physical and psychiatric conditions
requiring special educational accommodations by the Provider Schoal District and Bus Company.

6. One of those special accommodations is that Plaintiff rides to Humbolt Junior High
School on a specially designated Bus Company school bus that has a small purnber of other special
needs students. Upon information and belief, this school bus was supposed to have one bus driver
and one supervising adult.

7. On April 10, 2007, Plaintiff was sexually assaulted by a male student riding on the
same Bus Company seool bus

8. Ona previous occasion, a bus driver employed by the Bus Company failed to drop
Plaintiff Jane Doe 105 off and Plaintiff was reported missing. Local law enforcement agency were
contacted and a request for a Regional Broadcast was issued on June 6, 2003.

9, Upon information and belief, there was no adult supervisor on the Bus Company

school bus on June 6, 2003 or April 10, 2007.
10. As a direct result of, Defendants’ negligence and violation of 20 U.S.C. § 1681,
Plaintiff bas suffered and will continue to suffer severe emotional distress, shock, embarrassment,
Joss of self-esteem, disgrace, humiliation and loss of enjoyment of life, was prevented and will]
continue to be prevepted from performing her normal daily activities and obtaining the full
enjoyment of life, and has incurred and will continue to incur expenses for medical and
psychological treatment, therapy and counseling.

COUNT I: DEFENDANT SCHOOL DISTRICTS
NEGLIGENCE

li. Plaintiff incorporates all paragraphs of this Complaint as if fully set forth under this

count and further alleges that:

12. Defendants Resident School District and Pré¥ider SEHS6E District knew or should

reasonably have known that Plaintiff was a. able child in-need:of- protection while she was in

their care at school and while on the bus to and from school.

13. Defendants Resident School District and Provider School: District had a duty ‘to
protect Plaintiff from harm while Plaintiff was in their care while she was at school and while on the
bus to and from school.

14. By establishing and operating public schools, accepting the enrollment of the minor
Plaintiff in this school, and holding the school out to be a safe environment for Plaintiff to study and
leam, Defendants Resident School District and Provider School District entered into an express
and/or implied duty to properly supervise the minor Plaintiff and provide a reasonably safe learning
environment. Defendants Resident School District and Provider School District further assumed this

duty by holding their schools and the buses.to and from school out to the public, including the minor
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Plaintiff, as a safe and secure environment for the minor Plaintif—.

15, The Defendants Resident School District and Provider School.District breached their
duties to the Plaintiff by failing to propetlysupervise iid Bus that Plaintiff took to and from schoo!
and by failing to protect Plaintiff-from @knowi danger-upon its bus.

16. As a direct result of Defendants Resident School District and Provider. School
Distriet’s. negligence, Plaintiff has suffered and will continue to suffer severe emotional distress,
shock, embarrassment, loss of self-esteem, disgrace, humiliation and loss of enjoyment of life, was
prevented and will continue to be prevented from performing her normal daily activities and
obtaining the full enjoyment of life, aod has incurred and will continue to incur expenses for medical
and psychological treatment, therapy and counseling.

COUNT I: DEFENDANT BUS COMPANY
NEGLIGENCE

M7. Plaintiff incorporates all paragraphs of this Complaint as if fully set forth under this
count and further alleges that: ‘

18. Defendant Bus Company knew or should reasonably have known that Plaintiff was
a vulnerable child in need of protection while she was in its care while on the bus to and from school.

19. Defendant Bus Company had a duty to protect Plaintiff from harm while Plaintiff was
in its care while she was at school and while on the bus to and ftom school.

20. By establishing and operating school buses for Plaintiff's school, Defendant Bus
Company entered into an express and/or implied duty to properly supervise the minor Plaintiff and
provide a reasonably safe environment.

21. The Defendant Bus Company breached its duties to the Plaintiff by failing to properly
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Supervise the bus that Plaintiff took to and from school and by failing to protect Plaintiff from a
known, danger upon its bus.

22. Asa direct result of Defendant Bus Company’s negligence, Plaintiff has suffered and
will continue to suffer severe emotional distress, shock, embarrassment, loss of self-esteem, disgrace,
humiliation and loss of enjoyment of life, was prevented and will continue to be prevented from
perforning her normal daily activities and obtaining the full enjoyment of life, and has incurred and
will continue to incur expenses for medical and psychological treatment, therapy and counseling,

COUNT Ul - DEFENDANT SCHOOL DISTRICTS
VIOLATION OF TITLE IX (20 U.S.C. § 1681) - SEXUAL-HARASSMENT

23. Plaintiff incorporates all paragraphs of this Complaint as if fully set forth under this
count and further alleges that:

24. Plaintiff is part of a protected class,

25. Plaintiff was subjected to unwelcome sexual harassment.

26. The harassment was based upon sex.

27. The harassment was sufficiently severe as to alter the conditions of Plaintiff's

education and create an abusive environment.

28. One of Defendants Resident School District and Provider School District’s officials
with authority to take corrective measures had actual knowledge or notice of the sexual harassment.
29. Despite this knowledge, Defendants Resident School District Provider School
District’s official was deliberately indifferent to the Sexual harassment and failed to adequately

respond to the harassment.

30. As a direct result of Defendants Resident School District and Provider School
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District’s violation of 20 U.S.C. § 1681, Plaintiff has suffered and will continue to suffer severe
emotional distress, shock, embarrassment, loss of self-esteem, disgrace, humiliation and loss of
enjoyment of life, was prevented and will continue to be prevented from perforining her normal daily
activities and obtaining the full enjoyment of life, and has incurred and will continue to incur
expenses for medical and psychological treatment, therapy and counseling.

COUNT IV - DEFENDANT BUS COMPANY
VIOLATION OF TITLE IX (20 U.S.C. § 1681) - SEXUAL HARASSMENT

31. Plaintiff incorporates all paragraphs of this Complaint as if fully set forth under this
count and further alleges that:

32. Plaintiff is part of a protected class.

33. Plaintiff was subjected to unwelcome sexual harassment.

34. The harassment was based upon. SEX.

35. The harassment was sufficiently sever as to alter the conditions of Plaintiff's
education and create an abusive environment.

36. Defendant Bus Company contracted to perform transportation services for Defendant
School Districts, governmental actors, thus Defendant Bus Company was perfonning a governmental
function, jointly acting with the government, entwined with the government or subject to
governmental coercion, or encouragement.
37.  OneofDefendant Bus Company’s officials with authority to take corrective measures
had actual knowled ge or notice of the sexual harassment.

38. Despite this knowledge, Defendant Bus Company’s official was deliberately

indifferent to the sexual harassment and failed to adequately respond to the harassment.
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39. As a direct result of Defendant Bus Company’s violation of 28 U.S.C. § 1681,
Plaintiff has suffered and wil] continue to suffer severe emotional distress, shock, embarrassment,
loss of self-esteem, disgrace, humiliation and loss of enjoyment of life, was prevented and. will
continue to be prevented from performing her normal daily activities and obtaining the full
enjoyment of life, and has incurred and will continue to incur expenses for medical and

psychological treatment, therapy and counseling.

co V - DEFEND SCHOOL RICTS
42 U.S.C. § 1983 CLAIM - VIOLATION OF CONSTITUTION LRIGHTS _

40. Plaintiff incorporates all paragraphs of this Complaint as if fully set forth under this
count and further alleges that:

41, Defendants Resident School District and Provider School-District had aeustom-of..
failing-to receive, investigate and-act-upen complaints of sexual-misconduct.-

42. There wasa continuing, widespread, persistent pattern of unconstitutional misconduct
by Defendants Resident Schoo] District and Provider School District’s employees.

43. Defendants Resident School District and Provider School District were deliberately
indifferent to the misconduct or its policymaking officials tacitly authorized the misconduct after the
officials had notice of the misconduct,

44. Plaintiff was injured by acts pursuant to Defendants Resident School District and
Provider School District’s custom,

CoO VI - DEFENDANT BUS CO ¥
42 U.S.C. § 1983 CLAIM - VIOLATION OF CONSTITUTIONAL RIGHTS

45. Plaintiff incorporates all paragraphs of this Complaint as if fully set forth under this

count and further alleges that:
46. Defendant Bus Company contracted to perform transportation services for Defendant
School Districts, governmental actors, thus Defendant Bus Company was performing a
governmental function, jointly acting with the goverament, entwined with the government or subject
to governmental coercion of encouragement,

47. Defendant Bus Company had a custom of failing to receive, investigate and act upon
complaints of sexual misconduct.

48. There was acontinuing, widespread, persistent pattern of unconstitutional misconduct
by Defendant Bus Company’s employees.

49. Defendant Bus Company was deliberately indifferent to the misconduct or its
policymaking officials tacitly authorized the misconduct after the officials bad notice of the
paisconduct,

50. Plaintiff was injured by acts pursuant to Defendant Bus Company’s custotn.

WHEREFORE, Plaintiff demands judgment against Defendants individually, jointly and
severally in an amount in excess of $ 50,000, plus costs, disbursements, attorney fees, interest and

such other and furthér relief as the court deems just and equitable.

Dated: | of Le { oil JEFF ANDERSON & ASSOCIATES P.A.

By: Jeffrey R. Anderson, #2057
Patrick W. Noaker #274951
Attormeys for Plaintiff
E-1000 First National Bank Building
332 Minnesota Street
St. Paul, MN 55101
(651) 227.9990

ACKNOWLEDGMENT

The undersigned hereby acknowledges that sanctions, including costs, disbursements, and

reasonable attomey fees may be awarded pursuant to Minn. Stat. § 549.211-to the party against
whom the allegations in this pleading are asserted.

